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UNITED STATES DISTRICT COURT

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IN THE UNITED STATES OF DISTRICT COURT
FOR THE DISTRICT OF HAWAII

QUINTIN-JOHN D’AGIRBAUD lil, ) Civil . NO. 18-00021 JMS-RLP
Plainulf, )
)
VS )
) PLAINTIFF°S MOTION FOR THE
SARAH ALANZO, et al., ) RECONSIDERATION OF
Defendants. ) APPOINTMENT OF COUNSEL
) FILED MARCH 19, 2018

PLAINTIFF’S MOTION FOR RECONSIDERATION OF APPOINTMENT OF COUNSEL
FILED MARCH 19, 2018

PLAINTIFF, Quintin-John D’Agirbaud ILI pro se, comes belore Honorable U.S. Magistrate Judge

Richard L. Puglisi, requesting for Reconsideration of Appointment of Counsel filed, Marcy 19, 2018.

In this case plaintiff has a civil case against the State of Hawaii — Department of Public Safety for First

Amendment and Eighth Amendment Civil Rights Violations.

1. Atthe time of this non-hearing motion, Plaintiff was residing at the Saguaro Correctional Facility in
o So /

Arizona.

2. On December 6, 2018 Plaintiff was transferred to the Oahu Community Correctional Facility to
participate in the Work Furlough Program.

3. Plaintiffis currently working at V.L.P. Trans. As a shuttle driver and does not have the time or resources
to dedicate to his case because of his lack to a prison law library and his limited access to the State
Library to work on his case.

4. Plaintiff has made numerous attempts to resolve the issue with the State, however, has not received a

response from the State Attorney General.

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12,

The State has full advantage of Plaintiff's limited knowledge of the law and the State refuses to supply
Plaintiff with requested documentation that is crucial for the success of his case.

The State, due to their advantage, is not taking Plaintiff's case seriously and hopes that Plaintiff will
make a court error that will gct his case dismissed.

This Honorable Court in their denial of my Appointment of Counsel stated: “Plaintiff secks
appointment of counsel to assist him in submitting ‘future motions, etc.” Election ECF No.9. There is
no constitutional right to counsel in a civil case as this. See Lassiter v. Dep't of Soc. Servs., 452 U.S.
18, 28 (1981). Rather, pursuant to 28 U.S.C. § 1915, a district court has the power to ‘request’ that
counsel represent a litigant who is proceeding in forma pauperis. 28 U.S.C. § 1915(e)(1). Plaintiff is
able to present his claims adequately, and there is no obvious exceptional circumstances that warrant
appointment of counsel at this time. Plaintiff's Motion for Appointment of Counsel is DENIED.
Should the circumstances of the case materially change, the court may reconsider plaintiff's request sua
sponte.”

Although the legal issues in this case are not particularly complex, Plaintiff will be better served with
the assistance of counsel. See Rand v. Rowland, 113 F.3d 1520, 1525 (9" Cir.1997)

Plaintiff brings claims stemming from cruel and unusual treatment or punishment, arbitrary detention,
forced relocation and first amendment violations. Although there tend to be a lot of dangerous people in
prison: officials do not have to isolate every inmate who has the capacity for violence. However,
officials may not ignore an inmate’s history of violence behind bars. They may not place a known
“predator” in a position where he can continue to prey on other inmates. Freit v. Gov't of Virgin Islands,
839 F2.d 968, 978-79 (3" Cir. 1988)

Every prison should have a classification system that separates dangerous inmates from the rest and
allows for the special confinement of obvious “predators” Walsh v. Mellas, 837 F.2d 789,798 (7" Cir.
1988) [affirming judgment for prisoner injured by gang member placed in cell; “We firmly believe that
the failure of prison authorities to even review an inmates file to determine his/her proctivity for
violence and/or whether they are a gang-target in the face of gang related threats and violence manifest
utter disregard for the value of human life.’

Vosburg v. Solem, 845 F.2d 736, 766 (8" Cir. 1988) [“The prison authorities did not screen violent
offenders from the less violent and non-violent when making cell assignments. Inmates were not
segregated based upon the nature of the crime for which they were convicted, and no policy existed to
segregate inmates who were likely targets of assault.”’|

Labeling an inmate as a snitch (‘rat’) is an example of serious harm. [Benefield v. McDowall, 241
F.3d1267, 1271 (10" Cir. 2001) (“Labeling an inmate a snitch satisfies the Farmer standard and

constitutes deliberate indifference to the safety of that inmate.”’]
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13. Plaintiff asks this Honorable Court to reconsider his previous Motion for Appointment of Counsel sua

sponte.

I declare under penalty of perjury that the above statements are true to the best of my knowledge.

Dated: Honolulu, Hawai'i, February 27, 2019

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Quintin-ohf D’Agirbauck

Pro se — De

COPIES TO:

UNITED STATES MAGISTRATE RICHARD L. PUGLISI]
UNITED STATES DISTRICT COURT

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